Case 2:19-cv-01664-SJF-SIL
                  f    "
                           Document 10-1 Filed 04/10/19 Page 1 of 27 PageID #: 102
                                                            ."




               EXHIBIT"A"
              Case 2:19-cv-01664-SJF-SIL Document 10-1 Filed 04/10/19 Page 2 of 27 PageID #: 103



                                                                                                                                                       FOOD&FUN                   -
    Parents rally after Bronx teacher
    allegedly stepped on students for
    slavery lesson
    Posted: Feb 06. 201 S 6:13 PM EST
    Updated: Feb 06. 2018 6:13 PM EST

   NEW YORK - Parents and education advocates rallied Tuesday on the steps of City Hall to call
   for better teacher training when it comes to lessons dealing with slavery.

   The rally stemmed from an incident at M.S. 118 in which teacher Patricia Cummings
   reportedly stepped on students' backs to shaw the class what slavery felt like.
   "We don't have to actually make students feel like slaves to teach them about slavery," one
   parent said.
   While at City Hall, the New York City Coalition for Education Justice demanded to meet with
   Mayor Bill de Blasia. He wasll't there, but they did get to meet with his chief of staff. The group
   says the mayor's office plans to work with them.
   News 12 reached out to the mayor's office and Department of Education for comment but
   didn't immediately hear back.




                              WEATHER                         TOP STORIES                           TRAFFIC                                                FOOD & FUN



   Join Us On Facebook                               Q!l1imYJ:D.                                         Careers                                            Site Map'
   Join Us On Twitter                                 Newsday.                                           Internship.§.                                      Feedback
   Get our Ap'p-§'                                    News 12 Varsi:!Y,                                  Advertise                                          Terms of Service
   Go to Mobile Website                               Newsday. Cars                                      RSS                                                Privacy...E!!li!;y.
   .§ign UP. for Our Newsletters                      Newsday. Homes                                     About Us
                                                                                                         News Tip-§.
                                                                                                         Send Us PhotosNideo
                                                                                                         Newscasts



                     All content@ 2001 ~ 2019 Frankly and NEWS12. All RIghts Reserved. For more Information on this site, please read our Privacy' Polisv.. Terms of Service, and Ad Choices.




http://bronx.news 12. com/ story/3 7442861 /parents-rally-after-b ronx-teacher-alleged Iy-step ped-on-students-for-slavery-lesson                                                               1/1
        Case 2:19-cv-01664-SJF-SIL Document 10-1 Filed 04/10/19 Page 3 of 27 PageID #: 104




  Bronx Teacher Uses Disgusting Physical Exercise to Show 'How It Feels to Be a
  Slave'
  .~; ~:w:U+L~:~U~~~L@jUlia_rdSP
  FEB 02, 2018




Image via GeltylRamln Talaie



 Students and parents of Bronx Middle School 118 were shocked to discover that social studies teacher Patricia Cummings went to
 disturbing lengths to teach her class about slavery.

 Cummings picked the black students in her class and made them lie down on the floor, at which point she stepped on their backs
 to "show them what slavery felt like," the New York Daily News reports. Cummings reportedly used this insensitive method, if it can
 be called that, of teaching in multiple seventh -grade classrooms. Cummings is white; the students at MSl18 are 81 percent black
 and Hispanic, and only 3 percent white.

 "It was a lesson about slavery and the Triangle Trade," a boy in one Cummings's class told the Daily News. "She picked three of the
 black kids," and made them get on the floor in front of the class. "She said, 'You see how it was to be a slave?' She said, 'How does it
 feel?'"

 At some point, a girl from one of the classes who was on the floor tried to make a joke and said she actually felt fine. That's when
 Cummings stepped on her back, according to the student.

 "She put her foot on her back and said 'How does it feel?'" the student said. "'See how it feels to be a slave?'"                     CLOSE
           Case 2:19-cv-01664-SJF-SIL Document 10-1 Filed 04/10/19 Page 4 of 27 PageID #: 105




    "she had students lie on the floor," said another student. "She was measuring the length and width to show how little space slaves
    had in the ship. It was strange:'

    Cummings was removed, but only for a few days. She returned to class on Thursday. Later in that same day, Cummings was
    "reassigned away from children," only after the Daily News contacted New York City's Education Department and informed them of
    her slavery lesson.

    "While the investigation has not been completed, these are deeply disturbing allegations, and the alleged behavior has no place in
    our schools or in society," said Education Department spokeswoman Toya Holness.

    The principal of the schoo!, Giulia Cox, declined to comment.

    Cummings herself also refused to speak to a reporter who approached her after school on Thursday.



    RELATED
    New York State Inmates Set to Receive Free Tablet Devices

    12-¥ear-Old Girl in Custody After Shooting Two Students in L.A. School

    San Francisco DA's Office Will Dismiss Thousands of Marijuana Convictions




                                           SCHOOL



f   LIKE             FOLLOW      c;:J   STREAM




                                                            Your Email Address   ENTER



HIDE COMMENTS    X




                                                                                                                                     CLOSE
          Case 2:19-cv-01664-SJF-SIL Document 10-1 Filed 04/10/19 Page 5 of 27 PageID #: 106


   A teacher allegedly had black students lie on floor
   for slavery lesson, sparking outrage
   The teacher allegedly singled out black students, told them to lie on the floor.




   A New York City middle school teacher's lesson on slavery in America has sparked outrage after she allegedly singled
   out black students and told them to lie face-down on the classroom floor.


   Students and a staff member at a middle school in the Bronx told the New York Daily: News that social studies teacher
   Patricia Cummings was giving a lesson to several 7th-grade classes about the Middle Passage, the harrowing journey of
   millions of Africans who were kidnapped and shipped to America as part of the Atlantic slave trade.

                                                                     ADVERTISEMENT




https:/labcnews.go. com/US/leacher-allegedly-black-sludenls-Iie-floor-slavery-Iesson/story?id=52816180                     1/6
      · -. .-",-- ',. r .
                                  , I, . .. -- -.- Document
                               ·--I--r - .
              Case 2:19-cv-01664-SJF-SIL           ... - ....... -, -."- -"'.,'-- -----' - -' .. ,'- ',-' -,'-." ',-. -... "_." __
                                                       -'0·"·"';   -
                                                                                  10-1 Filed 04/10/19 Page 6 of 27 PageID #: 107
                                                                                                                     ~            ""_'_J




    feels to be a slave?"




       /r>:. rn:-:   -/i:')   Cr-;   tv "i1),   qi;:S) Scene in the hole! of" the ;bfooc!-stained Gloria.' (A/fiddh:J Passage).




   The student body at the William W. Niles School, M.S. 118, is 60 percent Hispanic, 21 percent black, 16 percent
   Asian and 3 percent white, according to the latest statistics from the New York City Dep.artment of Education.


   Cummings has since been reassigned away from students and an investigation into the alleged incident is underway,
   according to New York City Department of Education spokesperson Toya Holness.


   "While the investigation has not been completed, these are deeply disturbing allegations, and the alleged behavior has
   no place in our schools or in society. She has been reassigned away from students and we're providing the school with
   additional supports," Holness told ABC News in a statement Saturday.




https://abcnews.go.com/U S/teacher-allegedly-black-students-Iie-floor-slavery-lesson/story?id=52816180                                     2/6
            Case 2:19-cv-01664-SJF-SIL Document 10-1 Filed 04/10/19 Page 7 of 27 PageID #: 108




       (G;XH}if:   iv/r·ifE) An exterior shot of the \Nliifarn vV'. Niles Schoof, tVl.8. 118, in the Bronx L'orough of New York City



   The New York City Department of Education is deploying additional counselors and school-climate specialists to
   M.S. 118 to support students and staff as needed, department officials told ABC News. The school's principal is
   meeting with students and families and the superintendent has visited the school to support the community. The
   school also sent a letter home with students to their families, the officials said.


   M.S. 118 principal Giulia Cox did not immediately respond to ABC News' request for comment Saturday.



   Sponsored Stories




   Better Than Solar Panels?                           [Photos] Remember Linda                           Credit Cards with Massive          If Your Dog Eats Grass (Do This
   Wisconsin Mechanic Creates                          Kozlowski? This Is Her Life Now                   Rewards for World Travelers        Everyday)
   Shocking Invention!                                 Bob's Hideout                                     NerdvVal!et                        UiUrn8!e Pel. Nutrition
   \/vvvw.patr!ot~-advanCB-feport.c()rn




         o Comments (359)                              f


   Today's Top 5 .NEWS

                                                                                                            2. Attorney Michael Avenatti arrested in alleged Nike extortion
                                                                                                               scheme: Prosecutors


https:ffabcnews.go.comfU Sfteacher-allegedly-black-students-lie-floor-slavery-lessonfstory?id=52816180                                                                        3f6
                                   SPRiNG SALE I 3 FREE MONTHS
       Case 2:19-cv-01664-SJF-SIL Document    10-1 Filed 04/10/19 Page 8 of 27 PageID #: 109
Michael Avenatti charged                            Fiancee of man who kicked                             Father of Sandy Hook victim                         Accused killer 0'
with attempting to extort                           elderly woman on Bronx train                          Avielle Richman found dead                          mob boss >
Nike for $20 million                                says victim threatened to ki...                       at Edmond Town Hall in ...                          hate speL


                                                                                ADVERTISEMENT




   Thousands sign parents' petition demanding action
   from de Blasio on racist school incidents
           By BEN CHAPMAN
           NEW YORK DAILY NEWS             APR 09, 2018




   Natasha Capers, a coordinator for NYC Coalition for Educational justice, speaks during a demonstration at City Hall on Feb. 6. Games Keivom/New York Daily News)




   Do you hear them now, Mr. Mayor?


   City parents are giving Mayor de Blasia a petition bearing 20,000 signatures Tuesday that calls on him to act after the Daily
   News repolted on a string of racist incidents in the public schools.




                                                                                ADVERTISElvlENT
   Case 2:19-cv-01664-SJF-SIL Document 10-1 Filed 04/10/19 Page 9 of 27 PageID #: 110




"It's been more than a month since the Daily News broke a story about a white teacher in the Bronx who, in a lesson on
slavery and the Middle Passage, made black students in several classes lay face-down on the floor and even stepped on a
female student while asking, 'See how it feels to be a slave?' " states the online petition created by the city's largest parent-
led coalition, the Coalition for Educational fustice.


"It's been more than a month, and the city has still not taken any steps to ensure that this type of degrading and traumatic
incident will not occur again," it continues.



PAID POST                                                                                                                   What Is This?



                                                                   Tennsco Snap-Together Open Shelving Unit
                                                                   Starter Set, Sand
                                                                    $299.99

                                                                   SEE MORE




                                                                                                                           Officenlll'~
                                                                                                     Sponsored Content by Of:f'roelIIIax'




TI1e petition was circulated by the coalition, along with Color of Change. The Oakland, Calif., group is the nation's largest
racial justice organization.
   Case 2:19-cv-01664-SJF-SIL Document 10-1 Filed 04/10/19 Page 10 of 27 PageID #: 111




Parents are making another push to get Mayor de Blasia to address racist incidents in schools. (Barry Williams/for New York Daily News)



It calls on the city to expand anti-bias training for city teachers, improve school curriculum to reflect student diversity and
create an "Office of Culturally Responsive Education" within the city Education Department.


Bronx Middle School 118 teacher Patricia Cummings, who's accused of presenting the racist slavery lesson, was reassigned to
a rubber room on Feb. 1 after The News published reports of her actions. Education Department officials are investigating
the allegations.


The News' reports of racist incidents at MS 118 and other city schools have prompted a string of protests since February.



After the story about the slavelY lesson, The News reported about the refusal by administrators at Christ the King High
School in Queens to allow student Malcolm Xavier Combs display the name - his name - "Malcolm X" on the back of his
senior sweater.
        Case 2:19-cv-01664-SJF-SIL Document 10-1 Filed 04/10/19 Page 11 of 27 PageID #: 112




    Teacher Patricia Cummings has been relegated to a r'ubber room over accusations that she conducted a racist slavery lesson, (Andrew SavulichiNew York Daily News)



    The school still refuses to allow Combs to wear his name, and that of his namesake, on his school sweater. Combs' attorney
    filed a complaint with the city Human Rights Commission over the matter on April 3.


    The city is also investigating reports The News published in February that a Bronx principal barred the teaching of black
    history lessons at her school.


    A spokeswoman for Mayor de Blasia didn't respond to a request for comment on the petition.




    Ben Chapman

    Ben Chapman is an award-winning reporter who covers education for the New York Daily News. A graduate of Columbia University's Graduate School of
    Journalism whose work has also been published in the Washington Post and the New York Times, Chapman has written more than 2,000 articles about
    New York City schools for the Daily News since joining the paper in 2009. In 2015 Chapman was awarded a first-place citation for his education coverage
    in the New York State Associated Press Association contest. He was recognized by the New York State Associated Press Association again in 2016 with
    an award for in-depth reporting, Chapman is also a regular speaker in public forums and makes frequent appearances on television and radio.




Switch and save an average of $699. Savings make me smile.
Progressive! Sponsored



This Food Might Be Ruining Your Cat's Digestion
Ultimate Pet Nutrition I Sponsored



Tennsco Snap-Together Open Shelving Unit Starter Set, Sand
$299,99 - officedepot.com I Sponsored
                                                                            SPRING SALE I :3 FREE MONTHS
       Case 2:19-cv-01664-SJF-SIL Document 10-1 Filed 04/10/19 Page 12 of 27 PageID #: 113
Michael Avenatti charged                              Fiancee of man who kicked                                   Sandy Hook victims' relatives                          Horrifying scene in 'The
with attempting to extort                             elderly woman on Bronx train                                devastated about Jeremy                                Walking Dead' sets the stage
Nike for $20 million                                  says victim threatened to ki. ..                            Richman's apparent suicide: ...                        for Season 9 finale


                                                                                           ADVERT1SE,\\ENT




        aRONX




       Parents urge de Blasio to give teachers anti-bias
       training after cruel slavery lesson at Bronx school
               By ElLEN MOYNIHAN, MOllY CRANE·NEWMAN and BEN CHAPMAN                                         FEB 02, 2018      7:10 PM




                                                                                                                                                         ADVERTIS[lv1f.:NT




       Parents are calling on Mayor de Blasio to provide anti -bias training for teachers
       after The News exposed a shocking slaver.ylesson at Bron.x Middle School 118.

       Teacher Patricia Cummings was removed from her post Thursday after students
       and a staffer said she singled out black students and told them to lie on the floor                                                  $320              $98                 $248
       for a lesson on U.S. slavery - and then stepped on their backs to show them what
       slavery felt like.



                                                                                                                                            $248             $248                 $278




                                                                                                                                            $548              $48




                                                                                                                                             $4-~J             $;J;z.&
                                                                                                                                             $84              $265


                                                                                                                                         RECOMMENDED



       Parents are pressing Mayor de Blas!a to take actiotl and train teachers in cultural sensitivity after a Bronx                     Fiancee of man who kicked elderly woman
       teacher gave students a shocking slavery lesson at Bronx Middle S(hooI118. (Howard Simmons/New York Daily
       News)                                                                                                                             on Bronx train says victim threatened to kill
                                                                                                                                         her family


                                                                                                                                         Roseanne Barr says Sara Gilbert 'destroyed'
       The alleged actions of Cummings, a seventh-grade social studies teacher who is                                                    her life and her show
       white, sparked outrage around the city and quickly gained intemational notoriety.

                                                                                                                                         Radio legend Bob Slade, host of WBLS'
       Parents exnressed dis("ust at the storv and called on Mavor de Blasia to train
PAID POST
Case    2:19-cv-01664-SJF-SIL Document 10-1 Filed    04/10/19 Page 13 of 27 PageID #: 114
                                             What Is This?
                                                                                                                                  -      I        .
                                                                                                                        Parkland survivor takes her own life more
                                                                                                                        than a year after deadly mass shooting at
                                                          Tennsco Snap-Together Open
                                                                                                                        Marjory Stoneman Douglas High School
                                                          Shelving Unit Starter Set,
                                                          Sand
                                                          $299.99                                                       Teen who pushed friend off 60-foot
                                                                                                                        Washington bridge pleads guilty to
                                                          SEE MORE                                                      misdemeanor reckless endangerment

                                                                                                                                                             by Taboola
                                                                                                 Office DEPOT.
                                                                      Sponsored Content by            0fficelIIrax·




"Parents of color have been asking for this kind of training for years and the Mayor
has been ignoring our voices," said Bronx mom Annagine Lewis, a representative
of the citywide Coalition for Educational Justice.


"This is much bigger than one teacher. This is not the first incident," said Lewis,
47, a retail worker who has a child enrolled in a Bronx public school.




                                                                                                                                        ADVERTISEMENT




Parents have been disgusted after learning a Bronx school teacher gave a cruel lesson on slavery at Bronx
Middle School 1·18. (Gregg Vigliotti/For New York Daily News)



The incident at MS 118 is the latest in a string of events that raised concerns
about cultural sensitivity in the public schools.


In 2013, two teachers from Manhattan Public School 59 issued a homework
assignment to students that used killing and whipping slaves to teach basic math.


They received training in cultural sensitivity after the incident but were not
disciplined.


And in Maya substitute teacher at Bronx Public School 76 was fired after he
ripped a hijab off the head of a Bronx second-grader.




                                                                                                                                             ADVERTISEMENT


                                                                                              2;;Wi~\:-!1~-_;~.     .
                                                                                            k~~:i~::            ~
                                                                                            ~;:.J'.




                                                                                           1~~':~Il:!t.:.,,:.i
Case 2:19-cv-01664-SJF-SIL Document 10-1 Filed 04/10/19 Page 14 of 27 PageID #: 115




MSI18 parent Tamika Lasane, 36, (I.) said all the city's teachers should be mandated to take a cultural
sensitivity training, (Gregg Vigliotti/For New York Daily News)



Parents at MS 118 were furious over the allegations against Cummings, who
started working in city schools in 2016.


MS 118 parent Tamika Lasane, 36, said all the city's teachers should be required to
take cultural sensitivity and anti-bias training.                                                                               .ADVERTISEMENT



"They need to take lessons in that so it doesn't happen again," said Lasane, whose
son is in the seventh grade.

"This is February, this is Black History Month also, so I don't know what they're
gonna teach them."




"Parents of color have been asking for this kind of training for years and the Mayor has been ignoring our                       ADVERTISEMENT
voices," said Bronx mom Annagine Lewis. (Gregg Vigliotti/For New York Daily News)



Education Department officials said the city has provided anti-bias training to 450
city teachers in a new program this year, a fraction of the city's teaching force of
more than 77,000.


Mayor de Blasio refused to answer questions about the MS 118 incident at an
unrelated press conference on Friday, but city schools Chancellor Carmen Farina
said the matter is being investigated.



                                                                                                             You May like                   Sponsored Links by Taboola

                                                                                                             Most Dangerous Roads In The World
                                                                                                             EditcrChoice.com




                                                                                                             10 Credit Cards That Can't Be Beat In 2019
                                                                                                             NPrt!I/l.b.llllf
                                                                                                                  Why Men Are Obsessed With These Premium
Case 2:19-cv-01664-SJF-SIL Document 10-1 Filed 04/10/19     Page 15 of 27 PageID #: 116
                                                     Black T-Shirts'
                                                                                                                  Sebanlan Flerri



                                                                                                                  Quiz: Take a Crack at Naming 35 Comedy •••
                                                                                                                  HowStuffWorks




Patricia Cummings, a social studies teacher, was removed from her post after giving her students a cruel lesson
on slavery at MS 118. (Andrew SavulichiNew York Daily News)



"It's a velY serious allegatiDn, and she was removed, and I think at this point we
have to wait for the investigation to be complete," Farina said.


A de Blasio spokeswoman said the city has greatly expanded the scope of anti-bias
training for city educators.




                                                                                       on floor·
                                                                                be aslave?'
Front page of the New Yark Daily News far Feb. 2, 2018. (New Yark Daily News)



Parents held multiple demonstrations outside city Education Department
headquarters and City Hall in 2017 calling for the city to release funding for anti-
bias training for teachers.



Money to train more than 600 teachers was set aside for the effort in June but the
anti-bias lessons for teachers didn't begin until Janumy.


C.umminQ"s didn't resnnnd tn a reouest for cnmment. She. is reassiQ"ned away from
   Topics: bill de blasio. new york public schools, tremont
      Case 2:19-cv-01664-SJF-SIL Document 10-1 Filed 04/10/19 Page 16 of 27 PageID #: 117
                                                                     I    ~




     Ben Chapman                                                                               CONTACT




    Ben Chapman is an award-winning reporter who covers education for the New York Daily News. A
    graduate of Columbia University's Graduate School of]ournalisll1 whose work has also been
    published in the Washington Post and the New York Times, Chapman has written more than 2,000
    articles about New York City schools for the Daily News since joining the paper in 2009. In 2015
    Chapman was awarded a first-place citation for his education coverage in the New York State
    Associated Press Association contest. He was recognized by the New York State Associated Press
    Association again in 2016 with an award for in-depth reporting. Chapman is also a regular speaker
    in public forums and makes frequent appearances on television and radio.

--_..._ __..__._----_._---_._._._._---_._---
              ...




Switch and save an average of $699. Savings make me smile.
Progressive ISponsored



If Your Cat Vomits (Do This Every Day)
Ultimate Pet Nutrition I Sponsored



Sad Lioness' Reaction On Seeing Her New Neighbor Will Surely Lighten Up Your Day
Healthzap I Sponsored




Boy Interrupts Judge During The Adoption Process And Reveals His Foster
Mom's Secret
Healthzap I Sponsored

Guy Releases This Moose Back Into The Wild, Then She Returns With A
Surprise
leePop I Sponsored




Only 3% of Americans Can Name These State Capitals. Can You?
Warped Speed I Sponsored



Gruesome Civil War Photos Released From Government Vault
BlltzLift I Sponsored



Garden City, New York Drivers Are Stunned By This New Rule
EverQuote Insurance Quotes I Sponsored




State troopers lose jobs after dashcam video showing cops beating teen
Several West Virginia state troopers lost their jobs and are facing indictment for excessive force after
dashcam footage emerged of four troopers dragging a suspect who crashed his car onto the road and ...
NY Daily News




Fox News host Jesse Watters finalizes divorce following affair with junior
employee who has since left network
Fox News host Jesse Walters has finalized a divorce with his ex-wife after an affair with a 26-year-old staffer
at the Trump-friendly network, which in recent years has been rocked by high-profile departures of talent i ...
NY Dally News




                                      50        0      Garden City, i'N                                  More v



     0 . . . . . . ."   I , . " . ' " T . h • • I.   Tennsco SnaD-Toaether ODen Shelvina Unit Starter Set.. ..
Remember Him? This is Why He's No Longer An Actor
     Case 2:19-cv-01664-SJF-SIL Document 10-1 Filed 04/10/19 Page 17 of 27 PageID #: 118
Finance Nancy I Sponsored



U.S. Cardiologist: It's Like a Pressure Wash for Your Insides
Gundry MD Total Restore Supplementj Sponsored



Woman's Heart Breaks as She Gives Her Dog to the Zoo
Living Magazine I Sponsored




Barbra Streisand says Michael Jackson's accusers were 'thrilled to be there'
and his 'sexual needs were his sexual needs'
Barbra Streisand is under fire for comments she made about two men accusing Michael Jackson of sexually
assaulting them as chiidren.The legendary singer and actress said that Wade Robson and James ...
NY Daily News




Mafia-imposed death penalty a likely sentence for Staten Island suspect in
murder of Gambino boss Frank Cali
Mafia justice, while typically lethal, is dispensed somewhat randomly. Informants like Henry Hill and Sammy
Gravano get apparent passes, while lesser-known gangsters are killer for more innocuous crimes.
NY Daily News




9 Reasons This Electric Toothbrush is Worth All The Hype
quip I Sponsored



Low Budget Movies That Made Millions
UniversltyFox I Sponsored



Tennsco Snap-Together Open Shelving Unit Starter Set, Sand
$299.99 ~ officedepot.com I Sponsored




                                                     .';"DvmnSEMENT




                                                                                                              About Us           Contact Us


                                                                                                              Site Map           Questions
                                                                                                              Media Kit
                                                                                                                     Se.ctions




                                                                      Copyright@ 2019, New York Daily News
                         · , ,
                                  SPRING SALE I 3 FREE MONTHS
      Case 2:19-cv-01664-SJF-SIL Document 10-1 Filed 04/10/19 Page 18 of 27 PageID #: 119
                                            . ········.
                                      M
                                      ~f

Father of Sandy Hook victim
Avielle Richman found dead            -.....
                                       -t;;.;-.=;,    ..
                                                     ." ..
                                                             Fiancee of man who kicked
                                                             elderly woman on Bronx train
                                                                                                         The 'Fuller House' cast
                                                                                                       , mentioned Lori Loughlin
                                                                                                                                                 Bronx woman 1/1
                                                                                                                                                 horrific C( >
at Edmond Town Hall in ...                                   says victim threatened to ki.. .            during Kids Choice Awards               cops sues. ... _,


                                                                                       ADVERTISEMENT




    EDUCATiON         NEW YORK




   Bronx teacher sparks outrage for using black students
   in cruel slavery lesson
           By KERRY BURKE. ESHA RAY and BEN CHAPMAN
         ; FEB01,2018         I   9:00PM
                                                                                                                                             11        r+

     "Bronx teacher sparks outrage for cruel slavery lesson" will play after the act                                                               00:11




    o                                                                                                                                Ad; 00:11    ~,   ~q~




   Kids and parents say this Bronx teacher needs a lesson - in racism.

   Middle School 118 teacher Patricia Cummings shocked and traumatized children in her social studies classes when she
   singled out black students and told them to lie on the floor for a lesson on u.s. slavery - and then stepped on their backs to
   show them what slavery felt like, students and a staffer said.
   Case 2:19-cv-01664-SJF-SIL Document 10-1 Filed 04/10/19 Page 19 of 27 PageID #: 120




Students said Cummings, who is white, pulled the insensitive stunt in multiple seventh-grade classes as part of a unit on the
infamous Middle Passage, in which Africans were kidnapped and brought to America as part of the slave trade.


Kids and adults in Cummings' school, where the student body is 81% black and Hispanic and just 3% white, were horrified by
the offensive lessons they said occurred roughly two weeks ago.



PAID POST                                                                                                                           What Is This?




                                                                   Why Humans Are the Inspiration for This
                                                                   Vehicle's Design [!!
                                                                   New York, explore the finishes of the 20'18 Mazda6.


                                                                   SEE MORE




                                                                                                             Sponsored Content by




"It was a lesson about slavery and the Triangle Trade," said one of Cummings' students, who asked to remain anonymous.


"She picked three of the black kids," the boy said, and instructed them to get on the floor in front of the class. "She said,             'YOLI

see how it was to be a slave?' She said, 'How does it feel?' "
    Case 2:19-cv-01664-SJF-SIL Document 10-1 Filed 04/10/19 Page 20 of 27 PageID #: 121




Patricia Cummings, a social studies teacher, leaves MS 118 in the Bronx on Thursday. (Andrew Savulich/New York Dally News)


When a girl on the floor made an uncomfortable joke and said she felt fine, Cummings stepped on her back, the student said.


"She put her foot on her back and said 'How does it feel?'" the student said. " 'See how it feels to be a slave?' "



Cummings was removed from her post for a couple of days following the incident but then returned to class and was in
school Thursday.


However, the $68, 934-a -year teacher was reassigned away from children later Thursday, after the Daily News contacted the
city Education Depaltment about her slavery lesson.


"While the investigation has not been completed, these are deeply disturbing allegations, and the alleged behavior has no
place in our schools or in society," said Education Department spokeswoman Toya Holness.


MS 118 Principal Giulia Cox declined to comment.
   Case 2:19-cv-01664-SJF-SIL Document 10-1 Filed 04/10/19 Page 21 of 27 PageID #: 122




Teacher Patricia Cummings was reassigned after lesson at Bronx Midd[e School '1'18 in which kids say she had black students lie on the floor as she stepped on them,
(Howard Simmons/New York Daily News)



Cummings' students said the lesson followed a showing of a video of slaves being beaten, tortured and throvVl1 over the side
of a ship.


"She had students lie on the floor," said another kid who was in one of the lessons. "She was measuring the length and width
to show how little space slaves had in the ship. It was strange."


Cummings has worked in city schools since 2016 and is also a school cheerleading coach, according to her LinkedIn profile.


She refused to discuss her lessons when a reporter approached her after school Thursday.

                                                                               ADVERTISEMENT




"Excuse me, I'm not talking to anyone, no; she said, when asked if she stepped on black students in her class.


Cummings quotes Nelson Mandela and Walt Disney on her class web page, which also bears the image of a bald eagle and an
American flag.
       Case 2:19-cv-01664-SJF-SIL Document 10-1 Filed 04/10/19 Page 22 of 27 PageID #: 123




                                                                     Welcomer




    The web page for Cummings, who teaches social studies. (www.misscummingspage.weebly.com)



    "vlv11atever you do, do it well. Do it so well that when people see you do it they will want to come back and see you do it
    again," reads the Disney quote.


    Cummings' ill-conceived lesson isn't the first time a city teacher has grabbed headlines for giving offensive instruction
    involving slavery.


    In 2013, two teachers from Manhattan Public School 59 taught a lesson that used killing and whipping slaves to teach
    subtraction and multiplication.


    Those teachers weren't disciplined, but they did receive training in cultural sensitivity, Education officials said.

  Topics: new york public schools, tremont, daily news exclusives




    Ben Chapman

    Ben Chapman is an award-winning reporter who covers education for the New York Daily News. A graduate of Columbia University's Graduate School of
    Tournalism whose work has also been published in the Washington Post ancI the New York Times, Chapman has written more than 2,000 articles about
    New York City schools for the Daily News since joining the paper in 2009. In 2015 Chapman was awarded a first-place citation for his education coverage
    in the New York State Associated Press Association contest. He was recognized by the New York State Associated Press Association again in 2016 with
    an award for in-depth reporting. Chapman is also a regular speaker in public forums and makes frequent appearances on television ancI radio.




Tennsco Snap-Together Open Shelving Unit Starter Set, Sand
$299.99 • officedepot.com I Sponsored



Switch and save an average of $699. Savings make me smile.
Progressive! Sponsored
•
    .' .
           Case    2:19-cv-01664-SJF-SIL Document 10-1 Filed 04/10/19 Page
            Published by                c   ,   ,
                                                                         , 23
                                                                           "  of 27 PageID #: 124
    ,.      WNYC News


When Teaching Students About Slavery Fails
                             Queue                                                                             f




A recent study suggests students are not learning the history in the U.S. very well.
( Emily Wagster Pettus / Associated Press)



                             Feb 7,2018 . by Gwynne Hogan



                             J\:.Ee:~~_f"I~~_~P.'?~~ from the Southern Poverty Law Center suggests students
                             are not learning the history of slavery in the United States very well and as
                             a result, they're less able to reckon with contemporary issues of race and
                             inequality. Very few high school seniors can identify slavery as the central
                             cause ofthe Civil War. And the report says teachers don't have the material
                             or the training to tackle such a complicated - and sensitive - topic.


                             The New York Daily News ~i:!P?~!~~Et:~,!:,!.!ly on a case at a middle school in
                             the Bronx where a white teacher asked black students to lie face down on
                             the floor. She then stepped on at least one of them in a lesson about the
                             Middle Passage.


                             WNYC All Things Considered hostJami Floyd speaks with parent activist
                             Natasha Capers with the NYC Coalition for Educationaljustice about anti-
                             bias training and culturally responsive teaching methods.
                             , ,
        Case 2:19-cv-01664-SJF-SIL Document 10-1 Filed 04/10/19 Page 24 of 27 PageID #: 125


.. Post a Comment




RELATED




New Sounds I New Sounds

Rhiannon Giddens' Keynote Speech at 2018 Big Ears Festival
Award-winning singer, banjo player and violinist Rhiannon Giddens opened the 2018 Big
Ears Festival with a powerful speech on race, folk music, and what American greatness
means to her. Ju123, 2018




WNYCNews

NYC Schools Open Doors to New School Year, New Leader
The first day of school can be exciting: new backpacks, new friends, new chances. But it
can be bittersweet, too. Sep5, 2018




WNYC News

School Bus Drivers are Late and Lost in Queens
In one instance, a driver closed the bus doors and asked the children how to get to their
school. The next day, an 8th grader had to guide a different lost driver back onto his route.
Sep 19, 2018


(      Listen 1   m;n)

WNYCNews

Sweeping School Desegregation Plan Approved in Brooklyn
Middle schools wi/I no longer grant admission based on grades, test scores and
attendance across District 15, which spans Park Slope, Red Hook and Sunset Park. Sep 20,
2018



(      Listen 1 min)
                                                                 , , of 27 PageID #: 126
    Case 2:19-cv-01664-SJF-SIL Document 10-1 Filed 04/10/19 Page 25
                                                                                ADVERTISEMENT




   NEW YORK




  City to spend $23M for anti-bias training for public
  __ 1_ _ _ 1          __I . . __        L   _   • __

                                                                                                                                  SPRING SALE!
~ TOPICS                                                                                                                         Get 3 FREE months
                                                                                                                                                                  +J     lOG IN


                                                                 SPRING SALE       I   3 FREE MONTHS

         NEW YORK DAilY NEWS           I APR 26,2018
-_._----------




 Chancellor Richard Carranza lauded the cultural sensitivity training for city educators, which Mayor de Blasio unveiled in the 2019 budget. Uefferson Siegel/New York
 Daily News)




 The city will spend $23 million for anti-bias training of city educators after the Daily News exposed shocking instances of
 racism in public schools,


 In February, The News uncovered allegations of a white Bronx teacher who stepped on a black student during a lesson on
  slavery, a Bronx principal who barred black history lessons and a Park Slope PTA group that used blackface imagery in gala
  invites.
   Case 2:19-cv-01664-SJF-SIL Document 10-1 Filed 04/10/19 Page 26 of 27 PageID #: 127




The stories fueled demonstrations across the city from activists who had pushed for anti-bias training for months without
response from the city.


Now the 2019 city budget unveiled by Mayor de Blasio includes millions in funding for the training and a plan to offer anti-
bias training to all city educators by 2021.



PAID POST
                               ._--_.__._------_._-_.._-----_._._---._-_.__..._--_._---_.._--_.._._--_..__.__.__._--_.._-_._--_.-
                                                                                                                                  What Is This?




                                                                  Check Out How the Mazda CX-S Will Change
                                                                  the Way You Drive ~
                                                                  New York, explore the finishes of the 2018 Mazda   ex-s.
                                                                  see MORE




                                                                                                           Sponsored Content by   63 ~


Chancellor Richard Carranza lauded the cultural sensitivity training for city educators.


"This is a real step forward for serving New York City's kids and families," Carranza said. "Culturally responsive teaching
meets our kids and families where they are, and tailors the way we teach and serve our kids to their unique backgrounds and
the experiences they bring into the classroom."


The city will spend $4.8 million on implicit bias- and culturally responsive practice training in fiscal year 2019, which begins
July 1. That's up from just $660,000 on the programs in fiscal year 2018.


The budget for the programs also includes $6.9 million for the programs in 2020, $6.2 million for 2021 and $5.5 million for
2022.



NYC Coalition for Educational Justice Coordinator Natasha Capers, who organized many of the rallies call1ng for anti-bias
training, said thousands of parents have worked hard to bring racial justice to city classrooms.
theCase
    important work of diversifying; ~urrtculum
         2:19-cv-01664-SJF-SIL               Document      10-1 asFiled
                                               and course offerings well," 04/10/19
                                                                           Capers said.                     Page 27 of 27 PageID #: 128




RECOMMENDED



Roseanne Barr says Sara Gilbert 'destroyed' her life and her show


Radio legend Bob Slade, host of WBlS' 'Open Line: dies after longtime kidney ailment


Fiancee of man who kicked elderly woman on Bronx train says victim threatened to kill her family


Fox News host Jesse Watters finalizes divorce following affair with junior employee who has since left network


Second Parkland shooting survivor reportedly commits suicide

                                                                                                      by Tabool.




                                                                     ,.\DVERTtSE!vlENT




                                                                                 About Us                          Contact Us
                                                                                                                                Asked
                                                                                                                   Place      Ad
                                                                                 Media Kit                         Contests
                                                                                         Settions
                                                                                                                   Th"        Meal
                                                                                 The Active Times
                                                                                 Terms of Service

                                                         Copyright © 2019, New York Daily    ~Iews
